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                                                     August 12, 2020

VIA CMECF

Hon. Elizabeth A. Wolford
United States District Judge
Kenneth B. Keating Federal Building
100 State Street
Rochester, New York 14614

       RE:     Swamijee Kakarla v. Avani Technology Solutions, Inc., et al.
               Index No.: 6:18-cv-6555

Dear Judge Wolford:
           The parties in the above-referenced matter have agreed to adjourn the time for
Plaintiff to respond to Defendants’ motion for summary judgment (Docket #65) to
August 20, 2020 and the time for Defendants to file a reply to September 10, 2020.
Assuming that is acceptable to the Court, I have included an ordering line below. Thank
you for your attention to this.
                                                     Respectfully submitted,
                                                     /s/ Frank J. Fields


                                                     Frank J. Fields
cc:    John Bansbach, Esq. (via CMECF)
       Mitchell Katten, Esq. (via CMECF)




SO ORDERED:


___________________________
Elizabeth A. Wolford, United States District Judge
Dated: 8/14/2020




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